                     UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF WISCONSIN
____________________________________________

UNITED STATES OF AMERICA,

                   Plaintiff,
      v.                                                         Case No. 06-CR-286

CALVIN ANDREW S,

               Defendant.
____________________________________________

                                      ORDER

      On May 24, 2007, this court sentenced Calvin Andrews to 120 months’

imprisonment for violations of 21 U.S.C. §§ 841(b)(1)(A) and 846. Andrews’ total

offense level was 29 and he had a criminal history score of II; under this matrix, his

advisory guideline range of imprisonment was 97-121 months. However, Andrews

was subjected to a statutory minimum mandatory term of 120 months; accordingly,

this was the sentence the court imposed.

      On November 1, 2007, the United States Sentencing Commission amended

the advisory federal sentencing guidelines for criminal offense involving crack

cocaine. On December 11, 2007, the Sentencing Commission further decided that,

effective March 3, 2008, these amended guidelines would apply retroactively to all

offenders who were sentenced under the previous versions of the sentencing

guidelines and who are presently incarcerated.        The practical effect of these

amendments is that pursuant to the provisions of 18 U.S.C. § 3582(c)(2), defendants

previously convicted of offenses involving crack cocaine may be eligible for a

reduction in their sentence.
       Case 2:06-cr-00286-JPS     Filed 08/12/08   Page 1 of 2    Document 47
      On July 3, 2008, Andrews filed a pro se motion to reduce his sentence

pursuant to § 3582(c)(2). Having considered Andrews’ motion, together with an

analysis from the United States Probation Office and input from the United States

Attorney’s Office, the court concludes that his motion must be denied. Under the

amended guidelines, Andrews’ offense level and sentencing guideline range remain

the same and he continues to be subjected to the 120-month statutory mandatory

minimum sentence. The court finds no factual or legal basis to reduce the sentence

of 120 months imposed on May 24, 2007.

      Accordingly,

      IT IS ORDERED that Andrews’ motion for a reduction in sentence (Docket

#44) be and the same is hereby DENIED;

      IT IS FURTHER ORDERED that Andrews’ motions to remove counsel of

record (Docket #42) and appoint new counsel (Docket #43) be and the same are

hereby DENIED.

      Dated at Milwaukee, W isconsin, this 12th day of August, 2008.

                                             BY THE COURT:




                                             J.P. Stadtmueller
                                             U.S. District Judge




                                       -2-
      Case 2:06-cr-00286-JPS    Filed 08/12/08   Page 2 of 2   Document 47
